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UNITED STATES BANKRUPTCY COURT                               Presentment Date and Time:
SOUTHERN DISTRICT OF NEW YORK                                October 11, 2019, at 12:00 p.m.
--------------------------------------------------------X
In re                                                    :    Objection Deadline:
                                                         :    October 8, 2019 at 5:00 p.m.
                                                         :
EDDIE A. CORYAT,                                         :
                                                         :    Case No. 18-10342-cgm
                                                         :
                                      Debtor.            :    Chapter 13
--------------------------------------------------------X


    NOTICE OF PRESENTMENT OF ORDER APPROVING LOAN MODIFICATION
               AGREEMENT AND OPPORTUNITY FOR HEARING


       PLEASE TAKE NOTICE that upon the annexed motion of Eddie A. Coryat (the
“Debtor”), the undersigned will present the attached proposed order to the Honorable Chief
Judge Cecilia G. Morris, United States Bankruptcy Judge, One Bowing Green, New York, New
York 10004, for signature on October 11, 2019, at 12:00 noon.

        PLEASE TAKE FURTHER NOTICE that unless a written objection to the proposed
order, with proof of service, is filed with the Clerk of the Court and a courtesy copy is delivered
to the Bankruptcy Judge's chambers at least three days before the date of presentment, there will
not be a hearing and the order may be signed.

        PLEASE TAKE FURTHER NOTICE that if a written objection is timely filed, the
Court will notify the moving and objecting parties of the date and time of the hearing and of the
moving party’s obligation to notify all other parties entitled to receive notice. The moving and
objecting parties are required to attend the hearing, and failure to attend in person or by counsel
may result in relief being granted or denied upon default.

        PLEASE TAKE FURTHER NOTICE that the ECF docket number to which the filing
relates shall be included in the upper right hand corner of the caption of all objections.

Dated: September 16, 2019
       Astoria, New York
                                                              /s/Norma Ortiz
                                                              Norma E. Ortiz
                                                              Ortiz & Ortiz, L.L.P.
                                                              32-72 Steinway Street, Ste. 402
                                                              Astoria, NY 11103
                                                              Tel. (718) 522-1117
                                                              Debtor’s Counsel
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re                                                    :
                                                         :
                                                         :
EDDIE A. CORYAT,                                         :
                                                         :        Case No. 18-10342-cgm
                                                         :
                                      Debtor.            :        Chapter 13
--------------------------------------------------------X

              MOTION FOR AN ORDER APPROVING LOAN MODIFICATION
                       AGREEMENT WITH HSBC BANK USA

         Eddie A. Coryat (“Debtor”), by and through his attorneys Ortiz & Ortiz, LLP., hereby

move this court for an order approving an agreement to modify the first mortgage loan from

HSBC Bank USA (the “Lender”), which holds a secured claim on the Debtor’s property located

at 104 West 118 Street, New York, NY 10026 (the “Home”). In support thereof, the Debtor

states as follows:

                                                     Background

         1.       The Debtor filed a Chapter 13 petition on February 9, 2019 (the “Filing Date”).

         2.       By order dated August 7, 2018, the Court granted the Debtor’s application to

enter into loss mitigation with the Lender.

         3.       After having fully performed under a trial payment plan, the Debtor received a

fully executed final loan modification agreement from the Lender on September 11, 2019. A

copy of the agreement is annexed as Exhibit A to the annexed proposed order.

         4.       The essential terms of the agreement are:

                  Unpaid Principal Balance as of July l1, 2019:         $933,579.20

                  Deferred Principal Balance:                           $23,000
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               Mortgage Payments, incl. escrow:                        $5,427 – $5,984

               Interest rate:                                          2.00 – 3.875%

               Monthly principal and interest payment:                 No less than $6,368.15

               New Maturity Date:                                      Dec. 1, 2035

       5.      The Debtor has reviewed, accepted and signed the terms of the agreement. The

Debtor believes he has sufficient income to meet the terms of the agreement, and has been able

to make the proposed payments. The Debtor shall use his rental income and wages to meet the

terms of the agreement.

                                          Relief Requested

       6.      The Debtor requests that the Court enter the annexed order approving the

agreement, in accordance with the Loss Mitigation Program and Procedures as adopted by the

Court pursuant to Local Rule 9010-2 and General Order 451. The agreement will permit the

Debtor to save his home and comply with the terms of his proposed plan. The Debtor submits

that it is in his interests and the interests of his creditors that the Court approve the agreement.

       WHEREFORE, the Debtor respectfully requests that the Court enter an order approving

the agreement, and grant such other and further relief as the Court deems proper.

Dated: New York, New York
Sept. 16, 2019                                                 S/ Norma Ortiz
                                                               Norma E. Ortiz, Esq.
                                                               Ortiz & Ortiz, L.L.P.
                                                               32-72 Steinway Street
                                                               Astoria, New York 11104
                                                               Tel. No. (718) 522-1117
                                                               Debtor’s Counsel




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                        PROPOSED ORDER
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re                                                    :
                                                         :
                                                         :
EDDIE A. CORYAT,                                         :
                                                         :    Case No. 18-10342-cgm
                                                         :
                                      Debtor.            :    Chapter 13
--------------------------------------------------------X

                 ORDER APPROVING LOAN MODIFICATION AGREEMENT

         Eddie A. Coryat (the “Debtor”) having moved this Court pursuant to the Loss Mitigation

Program and Procedures as adopted by the Court pursuant to Local Rule 9010-2 and General

Order 451 for an order approving a loan modification agreement dated June 26, 2019 (the

“Motion”), attached hereto as Exhibit “A,” modifying the first mortgage held by HSBC Bank

USA against the Debtor’s residence located at 104 West 118 Street, New York, NY 10026 ;

and all creditors, the Chapter 13 trustee, and all parties who have filed a notice of appearance in

the case having been given proper notice; and no objections having been filed, and it appearing

that said loan modification is proper and in the best interest of the Debtor and the estate,

         NOW, on Motion of the Debtor, it is hereby

         ORDERED, that the Debtor, is authorized to enter into the loan modification agreement

annexed hereto as Exhibit “A”.

Dated: _________, 2019

                                                              ___________________________
                                                              Cecilia G. Morris
                                                              Chief U.S. Bankruptcy Judge
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                                EXHIBIT A
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